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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
                                                              1
    VOYAGER DIGITAL HOLDINGS, INC., et al.,                         )     Case No. 22-10943 (MEW)
                                                                    )
                                       Debtors.                     )     (Jointly Administered)
                                                                    )

                            ORDER (I) SCHEDULING
                      A COMBINED DISCLOSURE STATEMENT
                  APPROVAL AND PLAN CONFIRMATION HEARING,
        (II) CONDITIONALLY APPROVING THE ADEQUACY OF THE DEBTORS’
          DISCLOSURE STATEMENT, (III) APPROVING (A) PROCEDURES FOR
       SOLICITATION, (B) FORMS OF BALLOTS AND NOTICES, (C) PROCEDURES
        FOR TABULATION OF VOTES AND (D) PROCEDURES FOR OBJECTIONS
                                                     2
             Upon the motion (the “Motion”) of the Debtors for entry of an order pursuant to

sections 105, 363, 1125, 1126, and 1128 of the Bankruptcy Code, Bankruptcy Rules 2002, 3016,

3017, 3018, 3020, and 9006 and Local Rules 3017-1, 3018-1, and 3020-1 (i) conditionally

approving the Second Amended Disclosure Statement Relating to the Third Amended Joint Plan

of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the

Bankruptcy Code (the “Disclosure Statement”); (ii) scheduling a combined Disclosure Statement

approval and Plan confirmation hearing; and (iii) approving: (a) the Solicitation and Voting

Procedures; (b) the Combined Hearing Notice; (c) the Non-Voting Status Notices; (d) the Ballots;

(e) the manner and form of the Solicitation Packages and the materials contained therein; (f) the




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Voyager Digital Holdings, Inc. (7687); Voyager Digital, Ltd. (7224); and Voyager Digital, LLC
      (8013). The location of the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY
      10003.
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      Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion or the
      Disclosure Statement, as applicable.
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Plan Supplement Notice; (g) the Assumption Notice and Rejection Notice; (h) the Voting Record

Date; (i) the Plan and Disclosure Statement Objection Deadline; (j) the Solicitation Deadline; (k)

the Publication Deadline; (l) the Plan Supplement Filing Deadline; (m) the Voting Deadline; (n)

the deadline to file the Voting Report; (o) the Confirmation Brief Deadline and Plan Objection

Reply Deadline; (p) the Combined Hearing Date; and (q) the dates and deadlines related thereto,

all as more fully described in the Motion; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York, entered February 1, 2012; and

this Court having the power to enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties-in-interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Motion is granted as provided herein.




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I.     Conditional Approval of the Disclosure Statement.

       2.      The Disclosure Statement is hereby conditionally approved as providing Holders

of Claims entitled to vote on the Plan with adequate information to make an informed decision as

to whether to vote to accept or reject the Plan in accordance with section 1125(a)(1) of the

Bankruptcy Code.

       3.      The Disclosure Statement (including all applicable exhibits thereto) provides

Holders of Claims or Interests, and other parties-in-interest with sufficient notice of the injunction,

exculpation, and release provisions contained in Article VIII of the Plan, in satisfaction of the

requirements of Bankruptcy Rule 3016(c).

       4.      The Debtors’ request for a Combined Hearing on the final approval of the

Disclosure Statement and Confirmation of the Plan, and the Confirmation dates and deadlines

provided herein are approved.

II.    Approval of the Combined Hearing Notice.

       5.      The Combined Hearing Notice, in the form attached hereto as Exhibit 6 filed by

the Debtors and served upon parties-in-interest in these chapter 11 cases by no later than the

Solicitation Deadline, constitutes adequate and sufficient notice of the hearing to consider approval

of the Disclosure Statement and confirmation of the Plan, the manner in which a copy of the Plan

and Disclosure Statement can be obtained, and the time fixed for filing objections thereto, in

satisfaction of the requirements of the applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, and the Local Rules. Five business days following the entry of this Order, or

as soon as practicable thereafter, the Debtors shall submit the Publication Notice for publication

in The New York Times (National Edition) and the Financial Times (International Edition).




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III.   Approval of the Materials and Timeline for Soliciting Votes.

       A.      Approval of Key Dates and Deadlines with Respect to the Plan and Disclosure
               Statement.

       The following dates are hereby established (subject to modification as necessary) with

respect to the solicitation of votes to accept or reject, and voting on, the Plan:

               a.      Voting Record Date. January 10, 2023, as the date for determining
                       (i) which Holders of Claims in the Voting Classes are entitled to vote to
                       accept or reject the Plan and receive Solicitation Packages in connection
                       therewith and (ii) whether Claims have been properly assigned or
                       transferred to an assignee pursuant to Bankruptcy Rule 3001(e) such that
                       the assignee can vote as the Holder of the respective Claim (the “Voting
                       Record Date”);

               b.      Solicitation Deadline. January 25, 2023, as the deadline for distributing
                       Solicitation Packages, including Ballots, to Holders of Claims entitled to
                       vote to accept or reject the Plan (the “Solicitation Deadline”);

               c.      Publication Deadline. Five (5) business days after entry of the Order as
                       the last date by which the Debtors will submit the Combined Hearing Notice
                       for     publication     in   a    format    modified     for   publication
                       (the “Publication Notice”);

               d.      Plan Supplement Filing Deadline. February 15, 2023, as the deadline by
                       which the Debtors must file the Plan Supplement; provided that the Debtors
                       must file the Schedule of Assumed Executory Contracts and Unexpired
                       Leases and the Schedule of Assumed and Assigned Executory Contracts
                       and Unexpired Leases by February 1, 2023 and the Schedule of Retained
                       Causes of Action and the Customer Onboarding Protocol by
                       February 8, 2023 (each such date collectively, the “Plan Supplement Filing
                       Deadline”);

               e.      Voting Deadline. February 22, 2023, at 4:00 p.m. prevailing Eastern
                       Time as the deadline by which all Ballots must be properly executed,
                       completed, and delivered so that they are actually received
                       (the “Voting Deadline”) by Stretto, Inc. (the “Claims, Noticing, and
                       Solicitation Agent”).

       B.      Approval of the Form of, and Distribution of, Solicitation Packages to Parties
               Entitled to Vote on the Plan.

       6.      The Solicitation Packages to be transmitted by the Solicitation Deadline to those

Holders of Claims in the Voting Classes entitled to vote on the Plan as of the Voting Record Date,

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shall include the following, the form of each of which is hereby approved (and with respect to the

Disclosure Statement on a conditional basis only):

               a.      the Disclosure Statement (and exhibits thereto, including the Plan);

               b.      a copy of the Solicitation and Voting Procedures, attached hereto as
                       Exhibit 1;

               c.      the applicable forms of Ballots, including the mechanisms for (i) opting in
                       to the Third-Party Release contained in Article VIII.B of the Plan and
                       (ii) electing to contribute Contributed Third-Party Claims, and which will
                       include the detailed voting instructions and instructions on how to submit
                       the Ballot, which are attached hereto as Exhibit 3A, Exhibit 3B, Exhibit
                       3C, and Exhibit 3D;

               d.      the Cover Letter, attached hereto as Exhibit 4;

               e.      the letter from the Committee, attached hereto as Exhibit 5 (the “Committee
                       Letter”)

               f.      this Order (without exhibits);

               g.      the Combined Hearing Notice, attached hereto as Exhibit 6;

               h.      the Plan Supplement Notice, attached hereto as Exhibit 7;

               i.      the Notice of Rejection of Executory Contracts and Unexpired Leases,
                       attached hereto as Exhibit 8;

               j.      the Notice of Assumption and Assignment of Executory Contracts and
                       Unexpired Leases (Asset Purchase Agreement), attached hereto as
                       Exhibit 9;

               k.      the Notice of Assumption of Executory Contracts and Unexpired Leases
                       (Wind-Down Entity), attached hereto as Exhibit 10; and

               l.      such other materials as the Court may direct.

       7.      The Solicitation Packages provide the Holders of Allowed Claims entitled to vote

on the Plan with adequate information to make informed decisions with respect to voting on the

Plan in accordance with Bankruptcy Rules 2002(b) and 3017(d), the Bankruptcy Code, and the

Local Rules.



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       8.      The Debtors shall distribute Solicitation Packages to all Holders of Claims who are

entitled to vote. The Debtors shall distribute the Disclosure Statement (including the Plan), and

copies of the Committee Letter to all other creditors and interest holders as required by Rule 3017

of the Federal Rules of Bankruptcy Procedure; provided that the Disclosure Statement (including

the Plan) and the Committee Letter need to be sent to creditors in unimpaired classes only to the

extent such creditors are being asking to release claims against non-debtors, or to contribute claims

to a trust, or both. The Debtors shall also send notices to various groups of creditors or interest

holders in the forms attached to this Order and in the manner described in this Order.

       9.      The Debtors are authorized, but not directed or required, to cause the Solicitation

Packages to be distributed through the Claims, Noticing, and Solicitation Agent by e-mail to those

Holders of Claims in Class 3 and by first-class U.S. mail to those Holders of Claims in Class 4A,

Class 4B, and Class 4C. The Debtors shall provide a copy of the Plan, the Disclosure Statement,

and this Order (without exhibits) to Holders of Claims in Class 4A, Class 4B, and Class 4C in

electronic format (CD-ROM or flash drive) and to Holders of Claims in Class 3 via e-mail. The

Ballots, the Cover Letter, the letter from the Committee, the Solicitation and Voting Procedures,

and the Combined Hearing Notice shall be provided by e-mail to Holders of Claims in Class 3 and

in paper format to Holders of Claims in Class 4A, Class 4B, and Class 4C. On or before the

Solicitation Deadline, the Debtors (through the Claims, Noticing, and Solicitation Agent) shall

provide complete Solicitation Packages (other than Ballots) to the U.S. Trustee and to all parties

on the 2002 List as of the Voting Record Date.

       10.     Any party that receives the materials in electronic format but would prefer to

receive materials in paper format may contact the Claims, Noticing, and Solicitation Agent and




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request paper copies of the corresponding materials previously received in electronic format (to be

provided at the Debtors’ expense).

       11.     The Claims, Noticing, and Solicitation Agent is authorized to assist the Debtors in:

(a) distributing the Solicitation Packages; (b) receiving, tabulating, and reporting on Ballots cast

to accept or reject the Plan by Holders of Claims against the Debtors; (c) responding to inquiries

from Holders of Claims or Interests and other parties-in-interest relating to the

Disclosure Statement, the Plan, the Ballots, the Solicitation Packages, and all other related

documents and matters related thereto, including the procedures and requirements for voting to

accept or reject the Plan and for objecting to the Plan; (d) soliciting votes on the Plan; and (e) if

necessary, contacting stakeholders regarding the Plan.

       C.      Approval of Notice of Filing of the Plan Supplement.

       12.     The Debtors are authorized to send notice of the filing of the Plan Supplement

substantially in the form attached hereto as Exhibit 7 on the Plan Supplement Filing Deadline or

as soon as reasonably practicable thereafter; provided that the Debtors shall file the Schedule of

Assumed Executory Contracts and Unexpired Leases and the Schedule of Assumed and Assigned

Executory Contracts and Unexpired Leases by February 1, 2023 and the Schedule of Retained

Causes of Action and the Customer Onboarding Protocol by February 8, 2023.

       D.      Approval of the Form of Notices to Non-Voting Classes.

       13.     On or before the Solicitation Deadline, the Claims, Noticing, and Solicitation Agent

shall mail (first-class postage pre-paid) a Non-Voting Status Notice, the form of each of which,

including the mechanisms for (i) opting in to the Third-Party Release contained in Article VIII.B




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of the Plan and (ii) electing to contribute Contributed Third-Party Claims, is hereby approved, to

the parties outlined below, who are not entitled to vote on the Plan:

               a.      Unimpaired Claims—Conclusively Presumed to Accept. Holders of
                       Claims in Classes 1 and 2 are not impaired under the Plan and, therefore,
                       are conclusively presumed to have accepted the Plan. Holders of such
                       Claims will receive a notice, substantially in the form attached to this Order
                       as Exhibit 2A, and to the extent they are being asked to release claims
                       against third parties and/or to contribute claims to a trust they shall also
                       receive materials described in paragraph 14.

               b.      Other Interests and Claims—Deemed to Reject. Holders of Claims or
                       Interests in Class 5 (Alameda Loan Facility Claims), Class 6
                       (Section 510(b) Claims) and Class 9 (Existing Equity Holders) may not be
                       entitled to a distribution under the Plan and, therefore, are deemed to reject
                       the Plan and will receive a notice, substantially in the form attached to this
                       Order as Exhibit 2B, in addition to the materials specified in paragraph 14.

               c.      Disputed Claims. Holders of Claims that are subject to a pending objection
                       by the Debtors filed on or before the Solicitation Deadline are not entitled
                       to vote the disputed portion of their claim. As such, Holders of such Claims
                       will receive a notice, substantially in the form attached to this Order as
                       Exhibit 2C, in additional to the materials specified in paragraph 14.

       14.     On or before the Solicitation Deadline, the Claims, Noticing, and Solicitation Agent

shall also provide copies of the Disclosure Statement and the Committee Letter (or a link to

download such materials, as applicable) by electronic mail to Holders of Claims or Interests in

Class 5 (Alameda Loan Facility Claims), Class 6 (Section 510(b) Claims), Class 9 (Existing Equity

Holders), and Holders of Claims that are subject to a pending objection by the Debtors filed on or

before the Solicitation Deadline.

       15.     The Debtors are not required to mail Solicitation Packages or other solicitation

materials to Holders of Claims that have already been paid in full during these chapter 11 cases or

that are authorized to be paid in full in the ordinary course of business pursuant to an order

previously entered by this Court unless such Holders are being asked to provide releases in favor

of non-Debtor parties and/or are being asked to contribute claims to a trust. In addition, the


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Debtors are not required to mail Solicitation Packages or other solicitation materials to any party

to whom the Combined Hearing Notice was sent but was subsequently returned as undeliverable

if, despite reasonable efforts, the Debtors are unable to locate current addresses for such parties.

       16.     The Debtors will not provide the Holders of Class 7 Intercompany Claims or

Class 8 Intercompany Interests with a Solicitation Package or any other type of notice in

connection with solicitation.

       E.      Approval of Notices to Contract and Lease Counterparties.

       17.     The Debtors are authorized to mail a notice of rejection or assumption of any

Executory Contracts or Unexpired Leases, in the forms attached hereto as Exhibit 8, Exhibit 9,

and Exhibit 10, respectively, to the applicable counterparties to Executory Contracts and

Unexpired Leases that will be rejected or assumed pursuant to the Plan, respectively, within the

time periods specified in the Plan.

IV.    Approval of the Solicitation and Voting Procedures.

       18.     The Debtors are authorized to solicit, receive, and tabulate votes to accept the Plan

in accordance with the Solicitation and Voting Procedures attached hereto as Exhibit 1, which are

hereby approved in their entirety. The Debtors are authorized to convert each Claim asserted in

currency other than U.S. dollars (other than Cryptocurrency) to the equivalent U.S. dollar value

using the conversion rate for the applicable currency at prevailing market prices as of 8:00 a.m.

(prevailing Eastern Time) on the Petition Date, and to convert each Claim in Cryptocurrency using

the fair market value of the Cryptocurrency (based in U.S. Dollars) as of July 5, 2022 at

00:00 UTC, provided that such conversion shall be for voting tabulation purposes only and shall

not be binding for any other purpose on the Debtors, including, without limitation, for purposes of

the allowance of, and distribution with respect to, Claims under the Plan as set forth in Section

4(iii)(a) and (b) of the Solicitation and Voting Procedures.
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V.     Approval of Procedures for Confirming the Plan.

       A.      Approval of the Timeline for Filing Objections to the Plan and Disclosure
               Statement.

       19.     The following dates are hereby established (subject to modification as needed) with

respect to filing objections to the Plan and confirming the Plan:

                a.      Cure Notice Deadline. February 1, 2023 as the deadline by which the
                        Debtors must serve each assumption notice to the applicable counterparty
                        to Executory Contracts and Unexpired Leases;

                b.      Cure Objection Deadline. February 22, 2023, at 4:00 p.m. prevailing
                        Eastern Time as the deadline by which objections to the proposed cure costs
                        and objections to the assumption and/or assignment of Executory Contracts
                        and Unexpired Leases must be filed with the Court and served so as to be
                        actually received by the appropriate notice parties (the “Cure Objection
                        Deadline”);

               c.       Plan and Disclosure Statement Objection Deadline. February 22, 2023,
                        at 4:00 p.m. prevailing Eastern Time as the deadline by which objections
                        to the Plan and Disclosure Statement must be filed with the Court and served
                        so as to be actually received by the appropriate notice parties (the “Plan
                        and Disclosure Statement Objection Deadline”);

               d.       Deadline to File Voting Report. February 28, 2023, at 4:00 p.m.,
                        prevailing Eastern Time, as the date by which the report tabulating the
                        voting on the Plan (the “Voting Report”) shall be filed with the Court;

               e.       Confirmation Brief Deadline and Plan Objection Reply Deadline.
                        February 28, 2023, at 4:00 p.m. prevailing Eastern Time as the deadline
                        by which the Debtors shall file their brief in support of the adequacy of the
                        Disclosure Statement and Confirmation of the Plan (the “Confirmation
                        Brief Deadline”) and deadline by which replies to objections to the
                        Disclosure Statement and Plan must be filed with the Court
                        (the “Plan Objection Reply Deadline”); and

               f.       Combined Hearing Date. March 2, 2023, or as soon thereafter as the
                        Debtors may be heard, as the date for the hearing at which the Court will
                        consider approval of the Disclosure Statement and Confirmation of the Plan
                        (the “Combined Hearing Date”).




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       B.      Approval of the Procedures for Filing Objections to the Adequacy of the
               Disclosure Statement or Confirmation of the Plan.

       20.     Objections to the final approval of the Disclosure Statement or confirmation of the

Plan will not be considered by the Court unless such objections are timely filed and properly served

in accordance with this Order and the Case Management Order. Specifically, all objections to

final approval of the Disclosure Statement or confirmation of the Plan or requests for modifications

to the Plan, if any, must: (a) be in writing; (b) conform to the Bankruptcy Rules and the Local

Rules; (c) state, with particularity, the legal and factual basis for the objection and, if practicable,

a proposed modification to the Plan (or related materials) that would resolve such objection; and

(d) be filed with the Court and served upon the notice parties so as to be actually received on or

before the February 22, 2023, at 4:00 p.m. prevailing Eastern Time by each of the notice parties

identified in the Combined Hearing Notice.

       C.      Approval of the Procedures for Filing Objections to Proposed Cure Costs or
               to the Assumption or Assignment of Executory Contracts and Unexpired
               Leases.

       21.     Objections to proposed cure costs in connection with an assumption notice, or to

the assumption or assignment of Executory Contracts and Unexpired Leases, will not be

considered by the Court unless such objections are timely filed and properly served in accordance

with this Order and the Case Management Order. Specifically, all such objections must: (a) be

in writing; (b) conform to the Bankruptcy Rules and the Local Rules; (c) state, with particularity,

the legal and factual basis for the objection and, if practicable, a proposed modification to the Plan

(or related materials) that would resolve such objection; and (d) be filed with the Court and served

upon the notice parties so as to be actually received on or before the February 22, 2023, at 4:00




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p.m. prevailing Eastern Time by each of the notice parties identified in the Combined Hearing

Notice.

          22.   Notwithstanding the foregoing provisions, if (pursuant to the Binance US Purchase

Agreement) any party receives a Notice of Assumption and Assignment of Executory Contracts

and Unexpired Leases after February 1, 2023, such party shall have 21 days from the mailing of

such notice to object to any proposed cure and to object to any proposed assumption or assignment

of such Executory Contract or Unexpired Lease, and the confirmation of the Plan and the approval

and effectuation of the Binance.US Transaction shall not be contingent upon or affected by the

resolution of such objections.

          D.    Approval of Consequences of Not Confirming or Consummating the Plan.

          23.   If the Debtors revoke or withdraw the Plan, or if Confirmation or the Effective Date

does not occur, then: (1) the Plan will be null and void in all respects; (2) any settlement or

compromise not previously approved by Final Order of the Court embodied in the Plan (including

the fixing or limiting to an amount certain of the Claims or Interests or Classes of Claims or

Interests), assumption or rejection of Executory Contracts or Unexpired Leases effectuated by the

Plan, and any document or agreement executed pursuant to the Plan will be null and void in all

respects; and (3) nothing contained in the Plan shall (a) constitute a waiver or release of any

Claims, Interests, or Causes of Action by any Entity, (b) prejudice in any manner the rights of any

Debtor or any other Entity, or (c) constitute an admission, acknowledgement, offer, or undertaking

of any sort by any Debtor or any other Entity.

VI.       No Effect on Governmental Regulatory Authority

          24.   Nothing in this Order or the order approving entry into the Binance US APA

releases, precludes, or enjoins: (i) any liability to any governmental unit as defined in 11 U.S.C. §

101(27) (“Governmental Unit”) that is not a “claim” within the meaning section 101(5) of the
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Bankruptcy Code; (ii) any liability to a Governmental Unit under police and regulatory statutes or

regulations that any entity would be subject to as the owner or operator of property after the date

of the closing of the Binance US Transaction; or (iii) any liability to a Governmental Unit on the

part of any Person other than the Debtors. Nor shall anything in this Order or the order approving

entry into the Binance US APA enjoin or otherwise bar a Governmental Unit from asserting or

enforcing any liability described in the preceding sentence. Notwithstanding anything to the

contrary, nothing in this paragraph 21 shall be construed as a determination as to any liability or

claim owing to a Governmental Unit or whether any Governmental Unit is subject to the automatic

stay under section 362 of the Bankruptcy Code or limits, lifts or otherwise modifies the automatic

stay under section 362 of the Bankruptcy Code.

       25.     Further, nothing in this Order or the order approving entry into the Binance US

APA authorizes the transfer or assignment of any governmental (a) license, (b) permit, (c)

registration, (d) authorization or (e) approval, or the discontinuation of any obligation thereunder,

without compliance with all applicable legal requirements and approvals under police or regulatory

law. Nothing in this Order or the order approving entry into the Binance US APA shall relieve

any entity from any otherwise applicable obligation to address or comply with information requests

or inquiries from any Governmental Unit. Nothing in this Order or the order approving entry into

the Binance US APA shall affect any valid setoff or recoupment rights of any Governmental Unit.

Nothing in this Order or the order approving entry into the Binance US APA divests any tribunal

of any otherwise applicable jurisdiction it may have under police or regulatory law. Nothing in

this order or the order approving entry into the Binance US APA shall be construed as a

determination of whether the automatic stay applies to this paragraph 22 or limits, lifts or otherwise

modifies the automatic stay under section 362 of the Bankruptcy Code.



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VII.   Miscellaneous.

       26.     The Debtors reserve the right to modify the Plan in accordance with Article X

thereof, including the right to withdraw the Plan as to any or all Debtors at any time before the

Confirmation Date.

       27.     Nothing in this Order shall be construed as a waiver of the right of the Debtors or

any other party in interest, as applicable, to object to a proof of claim after the Voting Record Date.

       28.     Notwithstanding anything to the contrary in the Disclosure Statement, the Plan, this

Order, or any findings announced at the Combined Hearing, nothing in the Disclosure Statement,

the Plan, this Order, or announced at the Combined Hearing constitutes a finding under the federal

securities laws as to whether crypto tokens or transactions involving crypto tokens are securities,

and the right of the United States Securities and Exchange Commission to challenge transactions

involving crypto tokens on any basis is expressly reserved.

       29.     The Debtors shall maintain copies of their books and records as set forth in the Plan.

Nothing in this Order shall affect the obligations of the Debtors and/or any transferee or custodian

to maintain all books and records that are subject to any governmental subpoena, document

preservation letter, or other investigative request from a governmental agency.

       30.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       31.     Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a).

       32.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.




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       33.     The Court retains jurisdiction with respect to all matters arising from or related to

the interpretation or implementation of this Order.

 Dated: New York, New York
        January 13, 2023

                                               /s/ Michael E. Wiles
                                               THE HONORABLE MICHAEL E. WILES
                                               UNITED STATES BANKRUPTCY JUDGE




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